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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



DONNA CURLING, et al.,
   Plaintiffs,
                                           Civil Action No. 1:17-CV-2989-AT
      v.

BRAD RAFFENSPERGER, et al.,
    Defendants.


                 [PROPOSED] ORDER REGARDING
              PRESERVATION OF VOTING EQUIPMENT

      During the course of this litigation, this Court has entered a variety of

orders related to preservation of the State’s prior voting system, which

consisted of Diebold AccuVote Direct Recording Electronic (DRE) touchscreen

voting machines and associated components, including GEMS servers, memory

cards, AccuVote optical scanners, and Express Poll electronic pollbooks

(collectively, the “DRE System”). See [Docs. 122, 123, 668, 745]. Some of those

components are currently being stored by the State and others are stored by

Cobb, Fulton, and DeKalb Counties. See [Docs. 210, p. 3; 668; 735-1, ¶ 12].

      At summary judgment, this Court dismissed claims related to the DRE

System. [Doc. 1705, pp. 109–10]. Further, at trial, Plaintiffs acknowledged that

they were no longer pursuing claims regarding the DRE System aside from any

connection to the prior voter-registration system. Tr. Vol. VII 226:20–227:1.



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      Now that trial in this matter has concluded and there are no pending

issues related to the DRE System left to resolve, the Court hereby ORDERS

the following:

      1. All prior orders related to the preservation of components of the DRE

         System, including but not limited to [Docs. 122, 123, 668, and 745],

         are hereby dissolved.

      2. Officials in Cobb, DeKalb, and Fulton Counties are permitted to

         return any components of the DRE System that were sequestered by

         prior orders of this Court and/or that are being stored because of this

         litigation to State Defendants for disposition.

      3. State Defendants are permitted to dispose of all components of the

         DRE System, including all DRE touchscreen units, GEMS servers,

         memory cards, AccuVote optical scanners, and Express Poll electronic

         pollbooks in any manner they determine is appropriate.


      IT IS SO ORDERED this ____ day of April, 2024.


                                     ____________________________________
                                     The Hon. Amy Totenberg
                                     U.S. District Court Judge




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